          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )     MEMORANDUM AND
                                         )        ORDER
                                         )
TAMARA VARNADO                           )
                                         )


     THIS MATTER is before the Court on Defendant’s motions for a new

trial and for judgment of acquittal filed January 25, 2008. The Government

responded in opposition to Defendant’s motions on August 7, 2008.1

Opposition to Defendant’s Motion for New Trial, filed August 7, 2008;


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         The Defendant Varnado was granted several extensions of time to
file briefs in support of her motions for acquittal and new trial in order to
receive the trial transcripts. These extensions of time were unopposed by
the Government. Defendant filed the supporting briefs on July 9, 2008.
See Brief in Support of Motion for New Trial and Brief in Support of
Motion for Judgment of Acquittal, filed July 9, 2008.
       Defendant Osuji filed a pro se motion for a new trial on the basis of
ineffective assistance of counsel and prosecutorial misconduct on May 19,
2008. This motion was summarily denied because Defendant was
represented by counsel. See Order, filed May 20, 2008. Defendant Osuji
has not filed a post-trial motion for judgment of acquittal or any further
motion for a new trial.



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Opposition to Defendant’s Motion for Judgment of Acquittal, filed

August 7, 2008. For the reasons set out herein, Defendant’s motions for a

new trial and judgment of acquittal are denied.



                             I. BACKGROUND

      Defendant Varnado was originally charged along with co-conspirator

Paul Osuji in an eight-count indictment. Indictment, filed October 25,

2006. The Grand Jury later returned a superseding indictment containing

18 counts relating to a scheme to defraud the Government’s Medicare

program and other private health care agencies. See Superseding

Indictment, filed May 3, 2007. Count One charged Defendants Varnado

and Osuji with conspiracy to defraud the Government in connection with

the delivery and payment of health care benefits or services, in violation of

18 U.S.C. §§ 1347 and 1349, committed “within Mecklenburg County, in

the Western District of North Carolina, and elsewhere.” Id. at 9. Counts

Two through Ten charged Defendants with defrauding health care

programs in violation of 18 U.S.C. § 1347, “in Mecklenburg County, within

the Western District of North Carolina, and elsewhere.” Id. at 10-11. Count

Eleven charged Defendants with a money laundering conspiracy in



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violation of 18 U.S.C. § 1956(h), committed “in Mecklenburg County, within

the Western District of North Carolina and elsewhere.” Id. at 12. Counts

Twelve through Eighteen charged promotion of money laundering in

violation of 18 U.S.C. § 1956, committed “in Mecklenburg County, within

the Western District of North Carolina, and elsewhere.” Id. at 13-14.

     Defendants were brought to trial on the superseding indictment

January 7-11, 2008, and January 14-15, 2008. See Transcript (“Tr.”)

Volumes I-VII, filed June 3, 2008. The jury returned a verdict finding

Defendants guilty on all eighteen counts alleged in the superseding

indictment. See Jury Verdict as to Paul Osuji, filed January 15, 2008;

Jury Verdict as to Tamara Varnado, filed January 15, 2008.

     The evidence at trial showed that Osuji was the registered owner of

Chimatex, Inc., a company supplying medical equipment based in

Charlotte, North Carolina. Tr. Vol. III, supra, at 543. Varnado was the

director and registered owner of Medisource 2000 (“Medisource”), a

company that delivered medical equipment to Medicare patients, who are

also known as beneficiaries. Tr. Vol. II, at 482.2 Prince Yellowe3 was an


     2
       Medicare is a federal program that, among other things, provides
payment for claims related to medical services and supplies provided to
senior citizens and the disabled. Tr. Vol. I, at 41. Medicare claim


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unindicted co-conspirator who testified during this trial and had previously

pled guilty to conspiracy, health care fraud, and money laundering.

Yellowe is currently serving a 51-month term of imprisonment. Tr. Vol. III,

at 581-82.

     The superseding indictment charged and the evidence showed that

Defendants Varnado, Osuji, and unindicted co-conspirators, Dr. Linda

Morgan4 and Prince Yellowe, conspired to defraud Medicare and certain

private pay insurers, such as Cigna, through the following schemes:

     1.      Submitted false prescriptions and Certificates of Medical
             Necessity (“CMN”) for motorized wheelchairs known as the K-
             11;

     2.      Sought reimbursement for the more expensive K-11 and
             provided beneficiaries with a less expensive scooter;



processing is carried out through contract companies such as Cigna
Government Services, who take on the responsibility of receiving,
processing, and adjudicating claims. Id. At issue in the present case are
claims submitted for durable medical equipment (“DME”), which includes
medical equipment that is reusable, such as a motorized wheelchair or
scooter. Id. at 42.
     3
      Prince Owunari Yellowe was previously known by the name “Harold
Horatio Iyalla.” Tr. Vol. III, at 578.
     4
       Dr. Linda Morgan agreed with Yellowe and Varnado to provide
prescriptions for motorized wheelchairs to beneficiaries without ever
examining the beneficiaries as required by Medicare policy. Dr. Morgan
was paid $250 for each prescription. Tr. Vol. III, at 617-619.


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     3.    Sought reimbursement for motorized wheelchairs, but did not
           provide that equipment to beneficiaries; and

     4.    Sought reimbursement for motorized wheelchairs based on
           fictitious and backdated claims.

Superseding Indictment, supra, at 1; Tr. Vol. I, supra, at 44-47.

     Yellowe owned First Choice Medical, a company located in Houston,

Texas, that provided certain products including motorized wheelchairs

(“DME’s”) to Medicare patients. Tr. Vol. III, at 588. First Choice Medical

employed individuals known as marketers to recruit Medicare beneficiaries

to request DME’s. If a beneficiary was interested, the marketer would

gather the necessary billing information by making a copy of the Medicare

card containing the beneficiary’s number. Id. at 597. Medicare required

the beneficiary to obtain a prescription for the DME and a CMN written by

an examining physician; the marketer assisted the beneficiary in obtaining

these documents. Tr. Vol. I, at 52. After a supplier received the signed

prescription and CMN, it provided the beneficiary with the medical

equipment, a DME in this instance; then the supplier, or other billing agent,

billed Medicare for reimbursement. Id.

     Yellowe also owned First Choice Billing, a company that billed

Medicare for the products that were supplied by companies such as First



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Choice Medical. Id. at 589. Following a raid by federal authorities, First

Choice Medical was shut down and its supplier number was cancelled. In

response, Yellowe and Varnado established Medisource 2000, a new

supply company similar to First Choice, but registered it under Varnado’s

name only in order to obtain a new supplier number. Id. at 593-94.

However, Medisource was unable to obtain a supplier number due to the

fact that Medicare placed a moratorium on the issuance of new DME

supplier numbers in the Houston area because of concerns of rampant

fraud in the Medicare billing and supply business. Id. at 595.

     Through a business contact, Yellowe was introduced to Osuji at the

Medisource office in Houston. Id. at 603, 606. After some discussion,

Osuji agreed to allow Yellowe’s company, First Choice Billing, to utilize

Chimatex’s Medicare supplier number. Id. at 609. Osuji and Yellowe

agreed First Choice would obtain DME’s using Chimatex’s supplier

number; Chimatex would then receive reimbursement from Medicare; and

after the equipment costs, investment fees, delivery costs, billing fees and

other expenses were paid, Medisource and Chimatex would receive an

equal share of the profits. Id. at 612-13. As the scheme progressed,




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Varnado employed her own marketers and agreed with Yellowe to split

profits according to the above agreement. Id. at 622.

      Further facts will be developed as needed herein.



                               II. DISCUSSION

A. Motion for a New Trial

      A trial court may, in its discretion, vacate a judgment and award a

new trial “if the interest of justice so requires.” Fed. R. Crim. P. 33(a). A

district court “should exercise its discretion to award a new trial sparingly.”

United States v. Perry, 335 F.3d 316, 320 (4th Cir. 2003) (quotations

omitted). A “jury verdict is not to be overturned except in the rare

circumstance when the evidence ‘weighs heavily’ against it.” United States

v. Smith, 451 F.3d 209, 217 (4th Cir. 2006) (quoting Perry, supra).

      Defendant offers two grounds in support of her motion for a new trial:

(1) Dr. Linda Morgan, an unindicted co-conspirator, invoked her Fifth

Amendment privilege before the jury during Varnado’s trial thus creating an

improper inference that Varnado was guilty; and (2) an improperly written

jury instruction using the language “statute violated” rather than “statute

charged” was error and improperly influenced the jury. Brief in Support of



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Motion for a New Trial, filed July 9, 2008, at 2-3. The Government

argues the Court should examine Defendant’s motion for a new trial under

the “plain error” standard because Defendant did not raise a timely

objection before, during or after Dr. Morgan asserted her Fifth Amendment

privilege before the jury. Government’s Opposition to Motion for New

Trial, supra, at 3-4. Alternatively, the Government contends Dr. Morgan’s

assertion of her Fifth Amendment privilege before the jury was neither in

error or prejudicial to Varnado. Id. at 4-6. Lastly, the Government argues

that the language “statute violated” in the written jury instruction as

opposed to “statute charged” is an insufficient ground to support a new

trial. Id. at 7-9.

      Dr. Morgan, an unindicted co-conspirator, was called to testify by the

Government during its case-in-chief. Dr. Morgan testified as to her name

and then invoked her Fifth Amendment privilege not to testify and was

excused from further testimony. Tr. Vol. IV, supra, at 914-15.5 After

presentation of all the evidence, the jury received the following instruction

in open court:


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     The Fifth Amendment provides that: “No person shall . . . be
compelled in any criminal case to be a witness against himself.” U.S.
Const. amend. V.


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      During the trial, the government called a witness who invoked
      her Fifth Amendment privilege not to testify. Every witness has
      this right to invoke his or her Fifth Amendment privilege against
      self-incrimination. The fact that a witness invokes his or her
      Fifth Amendment rights does not give rise to any inference.
      You should not draw any inferences against or in favor of either
      of the defendants, nor should you do so against or in favor of
      the government from the witness’s refusal to testify. Nor
      should you speculate as to what the witness’s testimony might
      have been had she elected to testify in the trial of this case.

Tr. Vol. VII, at 10. Before giving this instruction to the jury, the Court

conducted a charge conference in chambers. Thereafter, the parties were

invited to lodge any objections to the jury instructions on the record out of

the presence of the jury. Defendant offered no objection to the above

instruction. Tr. Vol. VI, at 3-6.

      At trial, evidence was presented through several witnesses linking

Varnado to the crimes charged in the indictment. Testimony was provided

by unindicted co-conspirator Prince Yellowe, Tr. Vol. II, supra, at 578-801;

Mary Helen Rheinecker, Tr. Vol. I, at 40-116; and a former administrative

assistant, Clariben Anufuru, testified extensively, Tr. Vol. II, at 286-434,

regarding Varnado’s willing and knowing participation in the crimes

charged. Based on the weight of the evidence against Varnado presented

during the seven-day trial, Dr. Morgan’s invocation of her Fifth Amendment

privilege not to testify did not create an improper inference that Defendant


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was guilty nor did it impact the verdict in this matter. Additionally, the jury

is presumed to follow the instructions given by the court. See United

States v. Francisco, 35 F.3d 116, 119 (4th Cir. 1994) (citing Richardson

v. Marsh, 481 U.S. 200, 211 (1987) (“[J]uries are presumed to follow

their instructions.”)). Accordingly, Defendant’s argument is overruled.

      Defendant next contends that the “improper jury instruction about the

statutes Varnado ‘violated’ was in error.” Brief in Support of Motion for a

New Trial, supra, at 6-7. Challenged jury instructions are examined in the

context of “whether, taken as a whole, the instruction fairly states the

controlling law.” United States v. Cobb, 905 F.2d 784, 789 (4th Cir.

1990); see also United States v. Ellis, 121 F.3d 908, 923 (4th Cir. 1997)

(“[E]ven where the use or denial of a jury instruction is in error,

reversal is warranted only when the error is prejudicial based on a

review of the record as a whole.”).

      Defendant’s counsel raised a concern, in open court and out of the

presence of the jury, on behalf of both Defendants that “whenever the jury

instructions reference the statutes alleged to be violated here, it indicates

‘statute violated’ ” in the headings. Tr. Vol. VII, supra, at 4. Defendants

requested the Court modify the instructions from “statute violated,” “to have



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the heading [read] ‘statute charged,’” because “the text below [the heading]

discusses what statute [the Defendants are] charged with violating.” Id.

The Court denied the Defendants’ request finding the jury would not

misinterpret the phrase. Id. (“I don’t think the jury is going to be misled

by that one word.”).

      In re-examining the jury instructions as a whole, the Court concludes

this argument is without merit. The jury instructions make perfectly clear to

the jury that the burden in this case was on the Government to prove each

and every element of the statutes “charged” or alleged to have been

violated beyond a reasonable doubt. See id. at 6-75. The Court finds that

the language “statute charged” is not reasonably likely to have influenced

the jury in their deliberation in light of the entirety of the instructions given

to them. Defendant’s arguments on this issue are overruled.



B. Motion for Judgment of Acquittal

      A defendant may move for judgment of acquittal “of any offense for

which the evidence is insufficient to sustain a conviction” (a) at the close of

the Government’s evidence and before the case is submitted to the jury;

(b) at the close of all the evidence after the defendant has rested; and (c)



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after the jury has returned a verdict. See Fed. R. Crim. P. 29 (a)-(c). A

defendant is entitled to renew a motion for judgment of acquittal within

seven days after the jury returns a guilty verdict. Fed. R. Crim. P. 29(c)(1).

In deciding whether to grant a motion for judgment of acquittal, the Court

must view the evidence presented in the light most favorable to the

Government, and “inquire whether a rational trier of fact could have found

the essential elements of the charged offense beyond a reasonable doubt.”

United States v. Singh, 518 F.3d 236, 246 (4th Cir. 2008) (citing United

States v. Lentz, 383 F.3d 191, 199 (4th Cir. 2004)).6

      Defendant advances the following contentions in support of her

motion for judgment of acquittal: (1) the money laundering counts did not

involve profits as that term was recently defined by the Supreme Court; (2)

Counts 1-13, 15, 16, and 18 lacked sufficient evidence of proper venue;

and (3) there was insufficient evidence to support Defendant’s conviction of


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       Rule 29 provides that a defendant may move the trial court for
judgment of acquittal after a guilty verdict, and “the court may set aside the
verdict and enter an acquittal.” Fed. R. Crim. P. 29(c). Defendant made a
motion for judgment of acquittal at the close of the Government’s evidence
based on insufficiency of the evidence and improper venue. These
motions were denied. In denying the motion to dismiss on the issue of
improper venue, the Court found that United States v. Johnson, 510 F.3d
521 (4th Cir. 2007), was controlling and that ruling is left undisturbed. See
Tr. Vol. IV, supra, at 1090-98.


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Counts 14 and 17. Brief in Support of Judgment of Acquittal, filed July

9, 2008, at 1-3. These arguments will be addressed in turn.

      Defendant cites a recent Supreme Court case decided June 2, 2008,

United States v. Santos, 128 S. Ct. 2020 (2008), in support of her

argument that “with respect to the money laundering Counts [Eleven

through Eighteen], the Supreme Court recently clarified that for a money

laundering conviction to stand pursuant to 18 U.S.C. § 1956(a)(1)(A)(i) and

1956(h), the transaction charged must involve ‘profits’ of the underlying

illegal scheme in order to constitute unlawful ‘proceeds.’” Id. at 1.

Defendant argues that “the Supreme Court made clear that the mere

receipt of even unlawful proceeds or the use of the proceeds to pay the

expenses of the illegal activity is not to be construed as an unlawful

transaction involving profits as to qualify as a violation of 18 U.S.C. §

1956(a)(1)(A)(i) and 1956(h).” Id. at 9-10. The Government responds that

the decision in Santos was limited to the narrow issue before the Supreme

Court, namely, Justice Steven’s contention that “the receipts rule does not

apply to promotion money laundering cases involving gambling proceeds.”

Opposition to Motion, supra, at 6-7. Therefore, Fourth Circuit precedent

decided before Santos and which defined proceeds as gross receipts when



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health care fraud is the underlying unlawful activity would be controlling.

Id., at 7-8 (citing United States v. Alerre, 430 F.3d 681, 693-94 (4th Cir.

2005)) (other citations omitted).

      In the present case, Defendant was charged with promotion of

money laundering under 18 U.S.C. § 1956(a)(1)(A)(i), and a money

laundering conspiracy under 18 U.S.C. § 1956(h) in connection with

healthcare fraud.7 See Superseding Indictment, supra, at 12-14. In

contrast to the case here, Santos involved a defendant who was convicted

of “one count of conspiracy to run a illegal gambling business (§ 371), one

count of running an illegal gambling business (§ 1955), one count of

conspiracy to launder money (§ 1956(a)(1)(A)(i) and § 1956(h)), and two



      7
       Section 1956 provides:
     Whoever, knowing that the property involved in a financial
     transaction represents the proceeds of some form of unlawful
     activity, conducts or attempts to conduct such a financial
     transaction which in fact involves the proceeds of specified
     unlawful activity –
            (A)(i) with the intent to promote the carrying on of
            specified unlawful activity.
18 U.S.C. § 1956(a)(1)(A)(i). Additionally,
     Any person who conspires to commit any offense defined in
     this section . . . shall be subject to the same penalties as those
     prescribed for the offense the commission of which was the
     object of the conspiracy.
18 U.S.C. § 1956(h).


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counts of money laundering (§ 1956(a)(1)(A)(i)).” Santos, 128 S. Ct. at

2023. The Supreme Court considered whether the term “proceeds” used

in § 1956(a)(1) means “receipts” or “profits,” and concluded that “proceeds”

means profits from the criminal conduct and not the gross receipts that

were used to pay the expenses of the ongoing enterprise. Id. at 2023,

2031. The Court noted that the definition for “proceeds” is not included in

the money laundering statute and could mean either “receipts” or “profits.”

Id. at 2024. What the Court did not examine, and therefore, did not

decide, is whether “proceeds” received in the context of health care fraud

means “profits” or “receipts.”

      Santos was a plurality opinion authored by Justice Scalia, who was

joined by Justices Souter, Thomas, and Ginsburg. Justice Stevens

provided the deciding vote concurring in the judgment, but explained that

an undefined word such as “proceeds” can have different meanings in

different statutes. Thus, his vote was limited to the express issue before

the Court, that is, whether proceeds from a gambling enterprise must be

considered actual “profits” or “receipts.” Id. at 2031-34 (Stevens, J.

concurring in the judgment). Justice Stevens wrote that “this Court need

not pick a single definition of ‘proceeds’ applicable to every unlawful



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activity, no matter how incongruous some applications may be.” Id. at

2032. Justice Scalia explained that since Justice Stevens’ “vote is

necessary to our judgment, and since his opinion rests upon the narrower

ground, the Court’s holding is limited accordingly.” Id. at 2031 (citing

Marks v. United States, 430 U.S. 188, 193 (1977)).

      No matter how the “receipt” versus “profit” question is ultimately

resolved in light of the plurality opinion, Santos did nothing to undermine

the notion that a “profit” is a “profit” under the federal money laundering

statute. In the present case, the undersigned concludes that the monies

paid to Varnado were indeed “profits” as contemplated by the profit sharing

agreement as discussed by Yellowe and Osuji. Defendant Varnado was

charged and convicted of money laundering and conspiracy in connection

with health care fraud committed against Medicare. The evidence at trial

showed that she was the registered owner of Medisource, the sole

signatory to the company’s bank account, and that she agreed to a “profit

sharing” agreement with Yellowe and Osuji. Yellowe’s testimony makes

clear that the agreement provided that any profit was to be distributed

equally only after equipment costs, investment fees paid to Dr. Morgan,

delivery costs, taxes for Chimatex’s office and billing fees were deducted



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from the money reimbursed by Medicare. Tr. Vol. III, supra, at 611-23. In

conclusion, the agreement to which the jury found Varnado to be a party,

contemplated payment, that is, profit distribution, only after all expenses of

the operation were paid. Accordingly, this argument is overruled.

      Defendant also moves for judgment of acquittal contending that

Counts One through Thirteen, Fifteen, Sixteen, and Eighteen lacked

sufficient evidence of venue. Defendant’s Brief in Support of Judgment

of Acquittal, supra, at 12-16; Fed. R. Crim. P. 29(c)(1). Defendant

previously moved for acquittal on the basis of improper venue at the close

of the Government’s evidence, after she rested her case, and again after

the jury’s verdict. After the close of the Government’s evidence, Defendant

specifically moved for dismissal of Counts Two through Ten, Counts

Twelve through Fifteen, and Count Eighteen and the motion was denied.

Tr. Vol. IV, supra, at 1093-98. The Court found “that the numerous

contacts made within the State of North Carolina and activities occurring

here as a part of the overall conspiracy support venue for the United

States, Western District of North Carolina, for all 18 counts.” Id. at 1098.

Defendant again moved for acquittal on the basis of improper venue after

the close of all the evidence, and the Court again denied the motion. Tr.



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Vol. VI, at 1479 (“Defendant Varnado reasserts her Rule 29 motion for

the same reasons previously stated.”). After the jury returned a guilty

verdict on all counts, Defendant again moved for acquittal based on

improper venue and this motion was denied. Tr. Vol. VII, at 76. The Court

has considered the evidence presented at trial and concludes that there is

substantial evidence to support venue of all 18 counts in the indictment in

the Western District of North Carolina. Accordingly, the Court will deny this

motion for the reasons previously stated on the record. See Tr. Vol. IV, at

1098.

        Defendant also argues for judgment of acquittal on the grounds that

the conduct involved in Counts 14 and 17 were not properly attributable to

her. Defendant’s Brief in Support of Acquittal, supra, at 16-17. She

contends that the “evidence at trial did not establish that money laundering

occurred with respect to Varnado, because she is not one and the same

with Medisource 2000.” Id. at 16. Defendant concedes that “there was

evidence at trial that Varnado was the registered owner of Medisource

2000, [but contends that] various witnesses testified Medisource 2000 was

actually Yellowe’s company and Varnado’s in name only.” Id. This

argument is without merit.



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      A Rule 29 motion should be denied if “viewing the evidence in the

light most favorable to the government, any rational trier of facts could

have found the defendant guilty beyond a reasonable doubt.” United

States v. Tresvant, 677 F,2d 1018, 1021 (4th Cir. 1982). The jury heard

the testimony of Yellowe and others, that Varnado, as the registered owner

of Medisource 2000, was more than an owner in name alone; that she was

observed at the Medisource offices on numerous occasions; and that

money was deposited into a bank account for which she was the sole

signatory by Chimatex, Inc. Therefore, the Court finds that, viewing this

evidence in the light most favorable to the Government, the jury could have

found the Defendant guilty beyond a reasonable doubt based on this

evidence and her argument to the contrary is overruled.



                                 III. ORDER

      IT IS, THEREFORE, ORDERED that Defendant’s motion for a new

trial is DENIED.

      IT IS FURTHER ORDERED that Defendant’s motion for judgment of

acquittal is DENIED.




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                                Signed: October 24, 2008




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